Case 2:05-cV-02283-.]DB-tmp Document 3 Filed 06/15/05 Page 1 of 2 Page|D 1

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IN THE uNITEI) sTATEs DISTRICT CoURT z y - ~-f».
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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WESTERN DIvIsIoN 05 'U"i 15 PH 2° 55
CLE%"z!-;._ " `,
HOWARD TERRY’ W.o. o;~- .="a', w
i>iaimiff
v_ No_ 05-2283 s P

l\/lEl\/[PHIS HOUSING AUTHORITY,
ROBERT LIPSCOMB, in his official
Position as Executive Direetor,

Defendants.

 

ORDER EXTENDING TIME WITHIN WHICH TO FILE A RESPONSIVE PLEADING

 

Defendants Memphis Housing Authority and Robert Lipscornb have requested an
extension up to and including .luly 5, 2005, within which to file a responsive pleading in this
matter F or good cause shown, the l\/Iotion is hereby granted. Defendants Shall have until July 5,
2005 within which to tile a responsive pleadingl

so oRDERED this wl day ar :l`\)v\e , 2005.

CYQW\

UNITED STATES BI'S'T'R'I'€T`€@URT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02283 was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

Nathan A. Bicl<s

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Wanda Abioto

LAW OFFICE OF WANDA ABIOTO
1555 l\/ladison Ave.

l\/lemphis7 TN 3 8104

Lisa A. Krupicka

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

